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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

Derrick Jones, Jerome Jones, and
Darnell Rusan,

     PLAINTIFFS,
                                              Cause No. 4:21-cv-600-NCC
v.

City of St. Louis, et al.,

     DEFENDANTS.

 DEFENDANTS’ MOTION TO COMPEL ANSWERS TO DEFENDANTS’
INTERROGATORIES PROPOUNDED TO PLAINTIFF DARNELL RUSAN
  OR IN THE ALTERNATIVE TO DISMISS PLAINTIFFS’ COMPLAINT
       COME NOW Defendants, by and through undersigned counsel, and for their

Defendants’ Motion to Compel Answers to Defendants’ Interrogatories

Propounded to Darnell Rusan Or In The Alternative To Dismiss Plaintiffs’

Complaint state as follows:

       1. On March 18, 2022, Defendants served their First Set of Interrogatories

Directed to Plaintiff Darnell Rusan. See attached Exh. A.

       2. On April 18, 2022, Plaintiffs served their Responses to Defendants’ First

Interrogatories asserting objections to Interrogatories 1, 2, 11, 12, 13, and 14 based

on, among other things, relevance. See attached Exh. A.




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      3. On June 24, 2022, at approximately 2:00 p.m. Shubra Ohne and Maureen

Hanlon, attorneys for Plaintiffs and Lawrence Pratt and Adriano Martinez,

attorneys for Defendants met, by telephone, in a good faith attempt to resolve the

above-referenced discovery dispute. After reasonable efforts the parties were

unable to resolve the outstanding discovery disputes.

      4. Plaintiff waived his objections to Defendants’ Interrogatories as he

violated Rule 33 Fed. R. Civ. Pro. for failing to object with requisite specificity.

Jones v. Am. River Transp. Co., 2020 U.S. Dist. LEXIS 246007 (W.D. TN 2020).

      5. Plaintiff waived his objections to Defendants’ Interrogatories as he served

answers subject to objections. Michael Fergin v. Westrock Co. 2017 U.S. Dist.

LEXIS 197617 (D. Neb. Dec. 1, 2017).

      6. Defendants’ Interrogatory No. 1 requesting addresses where Plaintiff lived

for the last five years is relevant as Plaintiff refused to provide information as to

his criminal history. Plaintiff’s places of residence may provide Defendants venues

and jurisdictions within which to look for Plaintiff’s criminal history; thus said

information is relevant and discoverable under Rule 26 Fed. R. Civ. Pro.

      7. Defendants’ Interrogatory No. 2. requesting Plaintiff’s criminal record are

relevant as Plaintiff pled “pain, suffering, emotional distress, and injury” as the

result of his conditions of confinement at the City Justice Center for the City of St.


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Louis. Doc. #131, para. 118. Information regarding any prior contacts Plaintiff has

with the criminal justice system had as well as previous incarcerations are relevant

to the issues of Plaintiff’s alleged damages. Webb v. Jessamine County Fiscal

Court, 2011 U.S. Dist. Lexis 93136, 2011 WL 3652751.

      8. Further, Plaintiff’s criminal history is relevant as Plaintiff’s allegations are

based on his testimony as to events that transpired between himself and

Defendants, thereby putting his own credibility at issue. Domino Two, LLC v.

Auto-Owners Ins. Co., 2022 U.S. Dist. LEXIS 107358 (W.D. Mo June 16, 2022).

      9. Regarding Interrogatory Nos. 11, 12, and 13, Plaintiff’s complaint should

be dismissed as he made allegations in his complaint regarding his conduct then

invoked his Fifth Amendment privilege against self-incrimination when asked

under oath about the very same conduct. Serafino v. Hasbro, Inc., 82 F.3d 515,

518-19 (1st Cir. 1996); Brown v. Ames, 346 F. Supp 1176 (Dist. Ct. Minn. April 18,

1972); and Fletcher v. City of Marshall, 2019 U.S. Dist. LEXIS 12210. (D.C.

W.D. Mo. January 25, 2019).

      10. Interrogatory No. 14 requests information as to whether Plaintiff used

any other detainee’s PIN number. This information is relevant as Plaintiff made

allegations regarding events transpiring during a certain telephone call. Further,




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Information communicated regarding Plaintiff’s allegations in this case during

telephone calls are likewise relevant and discoverable.

      WHEREFORE, for the foregoing reasons Defendants pray this court grant

Defendants’ Motion to Compel Answers to Defendants’ Interrogatories

Propounded to Plaintiff Darnell Rusan or in the alternative dismiss Plaintiff’s

complaint.

                                               Respectfully submitted,


                                                SHEENA HAMILTON,
                                                CITY COUNSELOR

                                              By: /s/ Lawrence L. Pratt #41324
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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2022 the foregoing was filed electronically

with the Clerk of the Court to be served by operation of the Court’s electronic filing

system upon all attorneys of record.



                                                /s/ Lawrence Pratt

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